      Case 3:17-cv-00939-WHA Document 2530 Filed 01/26/18 Page 1 of 3



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  Attorneys for WAYMO LLC
                              UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 WAYMO LLC,                                 CASE NO. 3:17-cv-00939-WHA

                Plaintiff,                  PLAINTIFF WAYMO LLC’S
                                               ADMINISTRATIVE MOTION TO FILE
       vs.                                  UNDER SEAL ITS OFFER OF PROOF
                                               WITH RESPECT TO WAYMO’S
 UBER TECHNOLOGIES, INC.;                   DEVELOPMENT EXPENSES
    OTTOMOTTO LLC; OTTO TRUCKING
 LLC,

                Defendants.

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                                                               CASE NO. 3:17-cv-00939-WHA
                                                      WAYMO’S ADMINISTRATIVE MOTION TO SEAL
          Case 3:17-cv-00939-WHA Document 2530 Filed 01/26/18 Page 2 of 3



 1            Pursuant to Civil L.R. 7-11 and 79-5, Plaintiff Waymo LLC (“Waymo”) respectfully

 2 requests to file under seal portions of exhibits to its Offer of Proof With Respect To Waymo’s

 3 Development Expenses. (“Waymo’s Offer of Proof”). Specifically, Waymo requests an order

 4 granting leave to file under seal the portions of the documents as listed below:

 5                       Document                   Portions to Be Filed          Designating Party
                                                         Under Seal
 6          Waymo’s Offer of Proof                  Highlighted in blue      Defendants
 7                                                  Highlighted in green     Waymo
            Exhibit 1 to Waymo’s Offer of Proof     Entire document          Defendants
 8          Exhibit 2 to Waymo’s Offer of Proof     Entire document          Defendants
            Exhibit 3 to Waymo’s Offer of Proof     Entire document          Defendants
 9          Exhibit 4 to Waymo’s Offer of Proof     Entire document          Defendants
            Exhibit 5 to Waymo’s Offer of Proof     Highlighted in green     Waymo
10
                                                    Entire document          Defendants
11          Exhibit 6 to Waymo’s Offer of Proof     Entire document          Waymo & Defendants
            Exhibit 7 to Waymo’s Offer of Proof     Entire document          Waymo
12
     I.       LEGAL STANDARD
13
              Civil Local Rule 79-5 requires that a party seeking sealing “establish[] that the document, or
14
     portions thereof, are privileged, protectable as a trade secret or otherwise entitled to protection under
15
     the law” (i.e., is “sealable”). Civil L.R. 79-5(b). The sealing request must also “be narrowly tailored
16
     to seek sealing only of sealable material.” Id. In the context of non-dispositive motions, materials
17
     may be sealed so long as the party seeking sealing makes a “particularized showing” under the “good
18
     cause” standard of Federal Rule of Civil Procedure 26(c). Kamakana v. City & Cnty. of Honolulu,
19
     447 F.3d 1172, 1180 (9th Cir. 2006) (quoting Foltz v. State Farm Mutual Auto Insurance Co., 331
20
     F.3d 1122, 1135, 1138 (9th Cir. 2003)).
21

22 II.        DEFENDANTS’ CONFIDENTIAL INFORMATION
23            Waymo seeks to seal identified portions of these documents because Defendants have
24 designated the information confidential and/or highly confidential. Declaration of Lindsay Cooper

25 (“Cooper Decl.”) ¶ 3. Waymo takes no position on the merits of sealing the designated material,

26 and expects Defendants to file one or more declarations in accordance with the Local Rules.
27

28

                                                       -2-                    CASE NO. 3:17-cv-00939-WHA
                                                                    WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 2530 Filed 01/26/18 Page 3 of 3



 1 III.     THE COURT SHOULD SEAL WAYMO’S CONFIDENTIAL INFORMATION
 2          The Court should seal the portions of Waymo’s Offer of Proof and exhibits thereto as

 3 identified by Waymo in the table above. Waymo seeks to file this information under seal because it

 4 discloses Waymo’s trade secrets and confidential business information. See Cooper Decl. ¶ 4. Courts

 5 have determined that trade secret information merits sealing. Music Grp. Macao Commercial

 6 Offshore Ltd. v. Foote, No. 14–cv–03078–JSC, 2015 WL 3993147, at *1 (N.D. Cal. June 30, 2015)

 7 (quoting Kamakana, 447 F.3d at 1179); see also Brocade Commc’ns Sys., Inc. v. A10 Networks, Inc.,

 8 No. C 10-3428 PSG, 2013 WL 211115, at *1, *3 (N.D. Cal. Jan. 17, 2013) (granting request to seal

 9 document that “consists entirely of descriptions of Brocade’s trade secrets.”). Waymo seeks to seal

10 trade secret information that fit squarely within these categories. Cooper Decl. ¶ 4. Waymo maintains

11 this information as a trade secret (see Dkt. 25-31) and ensures the information remains secret with

12 strict secrecy and security protocols (see Dkt. 25-47; Dkt. 25-49.). Id. Waymo has narrowly tailored

13 its requests to only information meriting sealing. Id. The disclosure of Waymo’s trade secrets would

14 harm Waymo. Cooper Decl. ¶ 4. Moreover, the scope of information that Waymo is seeking to seal is

15 consistent with other administrative motions to seal that have already been granted by the Court in this

16 case. (See e.g., Dkt. 681.) Thus, the Court should grant Waymo’s administrative motion to seal.

17 IV.      CONCLUSION
18          In compliance with Civil Local Rule 79-5(d), redacted and unredacted versions of the
19 above listed documents accompany this Administrative Motion. For the foregoing reasons,

20 Waymo respectfully requests that the Court grant Waymo’s administrative motion to file under

21 seal.

22

23 DATED: January 26, 2018                       QUINN EMANUEL URQUHART & SULLIVAN,
                                                 LLP
24
                                                   By /s/ Charles Verhoeven
25
                                                      Charles Verhoeven
26                                                    Attorneys for WAYMO LLC

27

28

                                                      -3-                   CASE NO. 3:17-cv-00939-WHA
                                                                  WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 2530-1 Filed 01/26/18 Page 1 of 3



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  Attorneys for WAYMO LLC
                               UNITED STATES DISTRICT COURT

              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 WAYMO LLC,                                      CASE NO. 3:17-cv-00939-WHA

                 Plaintiff,                      DECLARATION OF LINDSAY COOPER
                                                    IN SUPPORT OF PLAINTIFF WAYMO
        vs.                                      LLC’S ADMINISTRATIVE MOTION TO
                                                    FILE UNDER SEAL ITS OFFER OF
 UBER TECHNOLOGIES, INC.;                        PROOF WITH RESPECT TO WAYMO’S
    OTTOMOTTO LLC; OTTO TRUCKING                    DEVELOPMENT EXPENSES
 LLC,

                 Defendants.

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                                                                       CASE NO. 3:17-cv-00939-WHA
                                       COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2530-1 Filed 01/26/18 Page 2 of 3



 1 I, Lindsay Cooper, declare as follows:

 2          1.     I am an attorney licensed to practice in the State of California and am admitted to

 3 practice before this Court. I am an associate at the law firm Quinn Emanuel Urquhart & Sullivan,

 4 LLP, counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set

 5 forth in this Declaration, and if called as a witness I would testify competently to those matters.

 6          2.     I make this declaration in support of Waymo’s Administrative Motion to File Under

 7 Seal its Offer of Proof With Respect To Waymo’s Development Expenses (“Waymo’s Administrative

 8 Motion”). Waymo’s Administrative Motion seeks an order sealing the following materials:

 9                     Document                   Portions to Be Filed         Designating Party
                                                       Under Seal
10        Waymo’s Offer of Proof                  Highlighted in blue     Defendants
11                                                Highlighted in green    Waymo
          Exhibit 1 to Waymo’s Offer of Proof     Entire document         Defendants
12        Exhibit 2 to Waymo’s Offer of Proof     Entire document         Defendants
          Exhibit 3 to Waymo’s Offer of Proof     Entire document         Defendants
13        Exhibit 4 to Waymo’s Offer of Proof     Entire document         Defendants
          Exhibit 5 to Waymo’s Offer of Proof     Highlighted in green    Waymo
14
                                                  Entire document         Defendants
15        Exhibit 6 to Waymo’s Offer of Proof     Entire document         Waymo & Defendants
          Exhibit 7 to Waymo’s Offer of Proof     Entire document         Waymo
16

17          3.     Portions of Waymo’s Offer of Proof and the attached exhibits contain information that
18 Defendants have designated as confidential and/or highly confidential.
19          4.     Portions of Waymo’s Offer of Proof and exhibits thereto also contain, reference, and/or
20 describe Waymo’s asserted trade secrets, including as misappropriated by Defendants. Waymo

21 therefore seeks to seal portions of Waymo’s Offer of Proof and the exhibits thereto as identified

22 above. Specifically, Waymo’s Offer of Proof and the attached exhibits referenced above describes

23 certain technical specifications of Waymo’s trade secrets. I understand that these trade secrets are

24 maintained as secret by Waymo (Dkt. 25-47) and are valuable as trade secrets to Waymo’s business

25 (Dkt. 25-31). The public disclosure of this information would give Waymo’s competitors access to in-

26 depth descriptions—and analysis—of the functionality of Waymo’s autonomous vehicle system.
27 Waymo’s Offer of Proof and the attached exhibits referenced above also contain or refer to

28 confidential business information, including internal development costs, which Waymo maintains as

                                                    -2-                    CASE NO. 3:17-cv-00939-WHA
                                          COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2530-1 Filed 01/26/18 Page 3 of 3



 1 secret. If such information were made public, I understand that Waymo’s competitive standing would

 2 be significantly harmed. Waymo’s request to seal is narrowly tailored to only the confidential

 3 information.

 4          I declare under penalty of perjury under the laws of the State of California that the foregoing is

 5 true and correct, and that this declaration was executed in San Francisco, California, on January 26,

 6 2018.

 7                                                  By /s/ Lindsay Cooper
                                                       Lindsay Cooper
 8                                                     Attorneys for WAYMO LLC
 9

10
                                       SIGNATURE ATTESTATION
11
            Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the
12
     filing of this document has been obtained from Lindsay Cooper.
13

14                                                 /s/ Charles K. Verhoeven
                                                     Charles K. Verhoeven
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                                                     -3-                    CASE NO. 3:17-cv-00939-WHA
                                           COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 2530-2 Filed 01/26/18 Page 1 of 2



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                                 UNITED STATES DISTRICT COURT
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                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

      WAYMO LLC,                                    CASE NO. 3:17-cv-00939-WHA
                                                 [PROPOSED] ORDER GRANTING
                    Plaintiff,                      PLAINTIFF WAYMO LLC’S
                                                 ADMINISTRATIVE MOTION TO FILE
           vs.                                      UNDER SEAL ITS OFFER OF PROOF
                                                 WITH RESPECT TO WAYMO’S
    UBER TECHNOLOGIES, INC.;                        DEVELOPMENT EXPENSES
 OTTOMOTTO LLC; OTTO TRUCKING
    LLC,

              Defendants.
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                                                                       CASE NO. 3:17-cv-00939-WHA
                                    [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2530-2 Filed 01/26/18 Page 2 of 2



 1         Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal

 2 (“Waymo’s Administrative Motion”) certain information in its Offer of Proof With Respect To

 3 Waymo’s Development Expenses (“Waymo’s Offer”).

 4         Having considered Waymo’s Administrative Motion, and good cause to seal having been

 5 shown, the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the

 6 documents listed below:

 7                                  Document                 Portions to Be Filed
                                                                  Under Seal
 8                     Waymo’s Offer of Proof                Highlighted in blue
 9                                                           Highlighted in green
                       Exhibit 1 to Waymo’s Offer of Proof   Entire document
10                     Exhibit 2 to Waymo’s Offer of Proof   Entire document
                       Exhibit 3 to Waymo’s Offer of Proof   Entire document
11                     Exhibit 4 to Waymo’s Offer of Proof   Entire document
                       Exhibit 5 to Waymo’s Offer of Proof   Highlighted in green
12
                                                             Entire document
13                     Exhibit 6 to Waymo’s Offer of Proof   Entire document
                       Exhibit 7 to Waymo’s Offer of Proof   Entire document
14

15         IT IS SO ORDERED.
16 Dated: ______________, 2018

17
                                          HON. WILLIAM ALSUP
18                                        United States District Court Judge

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                                                  -2-                   CASE NO. 3:17-cv-00939-WHA
                                    [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2530-3 Filed 01/26/18 Page 1 of 20



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 9                            UNITED STATES DISTRICT COURT

10                           NORTHERN DISTRICT OF CALIFORNIA

11                               SAN FRANCISCO DIVISION

12 WAYMO LLC,                                  CASE NO. 3:17-cv-00939

13              Plaintiff,                     PLAINTIFF WAYMO LLC’S OFFER OF
                                               PROOF WITH RESPECT TO WAYMO’S
14        vs.                                  DEVELOPMENT EXPENSES
15 UBER TECHNOLOGIES, INC.;                    PUBLIC REDACTED VERSION OF
   OTTOMOTTO LLC; OTTO TRUCKING                DOCUMENT SOUGHT TO BE SEALED
16 LLC,
17              Defendants.                    Trial Date: December 4, 2017
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                                        WAYMO’S OFFER OF PROOF REGARDING DEVELOPMENT EXPENSES
     Case 3:17-cv-00939-WHA Document 2530-3 Filed 01/26/18 Page 2 of 20



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                                                              WAYMO’S OFFER OF PROOF REGARDING DEVELOPMENT EXPENSES
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 1 I.       INTRODUCTION
 2          Each of the asserted trade secrets resulted from a development process that began in 2009,
 3 when Waymo decided to explore whether it was even possible for self-driving technology to be
 4 commercialized safely in the near term. Over the course of seven years, Waymo worked to
 5 identify and understand the myriad of problems that needed to be solved for autonomous vehicles
 6 to become feasible for widespread use in our lifetimes. How could every driving scenario be
 7 predicted and addressed? What hardware could provide the data needed to handle the relevant
 8 scenarios? Were lasers even necessary, or could radar, cameras, some other sensor, or some
 9 combination thereof be sufficient? How complex did each individual piece of hardware need to be
10 to generate a sum total of data that would be sufficiently robust to address all possible driving
11 scenarios? Can hardware of the necessary complexity be manufactured reliably or would the yield
12 for certain designs be too low and thus cost-prohibitive? Could software algorithms and artificial
13 intelligence fill in gaps in the data (or account for noise in the data), such that the hardware could
14 be less complex and less costly? Or would the necessary “compute” power then overrun the
15 system? Waymo was the first to identify the specific iterations of these questions and others that
16 presented themselves at every step on the path toward commercializing self-driving technology.
17 For Waymo, every tried and failed design, every solution to one hardware problem that created too
18 many issues on the software side, every software solution that could make up for a simplified
19 hardware implementation, every experience with manufacturing processes and yields – was
20 necessary to bring Waymo to the precipice of success. And it was just when Waymo arrived at
21 that precipice that Waymo’s trade secrets were misappropriated.
22          The jury will hear how Waymo needed to bring to bear all of its research and development
23 efforts to launch the first ever truly self-driving TaaS service. The jury will hear how Waymo’s
24 research and development efforts informed each specific asserted trade secret – from identifying
25 the questions to be addressed and problems to be solved all the way to tweaking a particular
26 implementation and validating the results. The costs of those efforts constitute relevant evidence
27 that the asserted trade secrets are trade secrets (i.e., that they derive independent economic value
28 from not being generally known), and the costs of those efforts constitute relevant evidence of the

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                                                 WAYMO’S OFFER OF PROOF REGARDING DEVELOPMENT EXPENSES
     Case 3:17-cv-00939-WHA Document 2530-3 Filed 01/26/18 Page 4 of 20



 1 value that Waymo and Uber would have ascribed to the asserted trade secrets at the time of the

 2 misappropriation.
 3 II.      OFFER OF PROOF
 4           1)     Waymo witnesses will testify about Waymo’s initial decision to develop self-
 5   driving car technology. Waymo began its program as a “moonshot,” at a time when the industry
 6   thought that fully autonomous vehicles were an impossibility, at least in our lifetimes. Dmitri
 7   Dolgov, who was one of Waymo’s original employees and who currently leads the development
 8   of its self-driving technology, will testify that Waymo’s initial goal was to understand the
 9   problems associated with self-driving in the real world. Dr. Dolgov will testify that, in 2009,
10   research and development in the field was based on self-driving in controlled settings like the
11   DARPA challenge courses. He will explain that Waymo was the first to focus on real-world
12   driving. Waymo began developing its technology from the ground up, without knowing the
13   specific nature of the problems it would encounter or even any success could be achieved in the
14   near term.
15           2)     Dr. Dolgov will testify that an integral and “but for” part of Waymo’s technology
16   development has been the accumulation of driven miles in its self-driving vehicles, whether in the
17   real world or via simulation. Waymo has accumulated millions of these miles, which has allowed
18   Waymo to collect enormous amounts of data about even rare events that a self-driving vehicle
19   encounters in the real world. Waymo invests significant resources into the accumulation of test
20   miles, with a dedicated fleet of test vehicles and operations drivers to seek out diverse real-world
21   settings.
22           3)     Dr. Dolgov and other Waymo engineers will explain that Waymo analyzes this
23   data to determine the most critical scenarios that its technology must be able to handle. At least
24   some Waymo witnesses refer to these critical scenarios as corner cases. Waymo witnesses will
25   explain that the corner cases are the hardest problems that must be solved. These corner cases
26   eventually become the critical test scenarios used at Waymo. The witnesses will testify that
27   identifying the corner cases, defining them as test scenarios, and solving for them in the self-
28   driving platform is an iterative process that requires extensive data analysis and testing. In some

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                                                WAYMO’S OFFER OF PROOF REGARDING DEVELOPMENT EXPENSES
     Case 3:17-cv-00939-WHA Document 2530-3 Filed 01/26/18 Page 5 of 20



 1   instances, Waymo has defined a test scenario too simplistically only to realize through driving

 2   more miles that the problem is more complex than Waymo’s proposed solution had anticipated.

 3   In other instances, testing reveals that Waymo has defined a test scenario as too complex, leading

 4   to an unnecessarily complicated and costly design. Waymo witnesses will testify that, especially

 5   in its early years of development, Waymo dedicated significant resources to identify and refine its

 6   test scenarios in order to capture the set that could define the requirements for a safe,

 7   commercially feasible self-driving car.

 8          4)      There will be evidence introduced at trial demonstrating that the importance of

 9   driving “real miles” to inform research and development efforts was not lost on Uber. Jeff

10   Holden, Uber’s Chief Product Officer, has testified that Uber had done
11                              (Ex. 1 [Holden 8/15/17 Depo. Tr.] at 91:24-92:1.) And John Bares, a
12   Director in Uber’s ATG group, believed such limited real-world testing was a problem: he
13   testified that, in the first half of 2016 (as Uber was negotiating the Otto acquisition), he was “in a
14   pretty low place because we were getting beat up on real miles. We were -- Google was logging
15   15,000 a week, and we were at zero a week.” (Ex. 2 [Bares 8/11/17 Depo. Tr.] at 475:20-476:1.)
16          5)      Waymo’s engineers will explain that creating a set of hardware requirements from
17   its understanding of the test scenarios (derived from driving real-world and simulated miles) that
18   should be solved by the overall self-driving platform is a complex process that involves
19   coordination among multiple teams within Waymo. For example, Dr. Dolgov will explain that
20   the design and development process for Waymo’s LiDAR sensors implicates the balancing of a
21   variety of factors across all hardware and software capabilities. If the hardware team reduces the
22   complexity of a sensor so that it can be manufactured more easily or so that it can better meet
23   cost or space goals, then the software team may have to develop more complex algorithms to
24   process the less robust data that the sensor collects (or the software team may determine that the
25   data generated by the less complex hardware is too noisy or non-uniform to be useful at all
26   without burdening the overall system with excessive “compute” requirements). If, on the other
27   hand, the hardware team increases the sophistication of a sensor so that it produces richer data,
28   then some software algorithms may be simplified, but the hardware may prove too costly, too big,

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                                                 WAYMO’S OFFER OF PROOF REGARDING DEVELOPMENT EXPENSES
     Case 3:17-cv-00939-WHA Document 2530-3 Filed 01/26/18 Page 6 of 20



 1   or too complex for mass manufacture. Dr. Dolgov will explain how this necessarily iterative

 2   balancing has led Waymo to dead ends, significant design changes, and important design tweaks,

 3   which eventually led Waymo to the asserted trade secrets.

 4          6)      For example, Waymo developed a version of its short-range LiDAR sensor, called

 5   TBr, with a hardware design that included
 6                                                                                But, after building and
 7   testing TBr, Waymo determined that
 8                                                                                     The software team
 9   also encountered unexpected difficulties fusing the TBr data with more robust data from
10   Waymo’s in-development and necessarily more complex medium-range sensor. This led to
11   complications such as
12                                                                . And this is just a small number of the
13   issues Waymo needed to address in the context of this particular aspect and iteration of
14   development.
15          7)      Dr. Dolgov will also testify that some issues do not even immediately present
16   themselves in this way. The development process requires extensive testing and evaluation to
17   determine whether Waymo’s LiDAR sensors meet its defined test scenarios and performance
18   requirements after proposed solutions are implemented. After Waymo designs and prototypes a
19   sensor, it tests the sensor in three different settings: the real world, simulated test environments,
20   and controlled “structured test” environments. The simulated and structured test environments
21   allow Waymo to replicate its test scenarios and to evaluate how well the LiDAR sensors, other
22   hardware, or a combination thereof are able to detect the scenarios and how well software is able
23   to process the resulting data to classify objects and make driving decisions. The real world tests
24   have at times raised new issues not identified by the other test environments. Dr. Dolgov and
25   other Waymo engineers will provide examples of how the testing and evaluation process has led
26   to significant hardware and software design iterations, especially in the early years of the research
27   and development process.
28          8)      There will be evidence at trial that this reality of the development process was also

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                                                 WAYMO’S OFFER OF PROOF REGARDING DEVELOPMENT EXPENSES
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 1   known to Uber.

 2

 3            (Ex. 3 [TX-0085], at 11-12.) Later, Uber’s internal test plan for its Fuji sensor similarly
 4   recognized
 5                                                                    . (Ex. 4 [TX-124].)
 6           9)         The evidence at trial will show that each of the asserted trade secrets resulted from
 7   the development process discussed above. Said differently, Waymo’s extensive investments into
 8   iterative, cross-functional development process were necessary for Waymo to arrive at the trade
 9   secrets, and much of the value of the trade secrets resides in the fact that they resulted from just
10   this time and resource intensive process.
11                     2.     Trade Secret No. 2
12           10)        Trade Secret No. 2 is directed to
13                                     of Waymo’s GBr3 LiDAR device. Waymo engineers will testify
14   that Waymo arrived at                       only as a result of the research and development cycles
15   described in paragraphs 1 through 9 above.
16           11)        For example, Waymo engineers will testify that the
17                                                                           requirements for Waymo’s
18   mid-range LiDAR could be defined only in conjunction with identifying, describing, testing, and
19   refining the test scenarios that Waymo created to ensure the safety of its self-driving technology
20   and proposing potential combinations of hardware and software to solve those test scenarios in a
21   way that not only works but also minimizes complexity and maximizes reliability across the self-
22   driving platform. Waymo engineers will testify that the question of how to
23   in a LiDAR device was an integral part of that overall design process.
24           12)        Those engineers will testify that
25

26   thus affecting the resolution of the data generated and the usefulness of that data to solve different
27   test scenarios.                                              must meet physical requirements related
28   to, for example, space, manufacturing, and cost. The software must be able to process the data

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 1   generated by the LiDAR, accounting for the differences in data sets caused by

 2   And so on.

 3          13)     Waymo engineers will testify that, in early generations of its medium-range

 4   LiDAR sensor, GBr, Waymo determined that
 5                                            Over time, however, Waymo came to understand that
 6                                                                                        because its
 7   then current combination of LiDAR, radar, cameras, software, and other technology could not
 8   meet certain difficult test scenarios. In particular, Waymo determined from its ongoing test
 9   driving that                                             was needed from its mid-range LiDAR in
10   order for the self-driving system as a whole to classify, identify, define, and make decisions in
11   response to a small subset of these test scenarios.
12          14)     Among other things, Waymo originally considered
13                                               But Waymo engineer Pierre Droz will testify about
14   how Waymo’s LiDAR team arrived at a better solution. Waymo had previously thought that the
15

16                                                            But, from its experience manufacturing
17   GBr2, Waymo intuited that it could likely
18                                                                            This would result in
19

20

21                       that could result in the necessary                    Mr. Droz will testify that
22   testing has revealed that the arrangement met Waymo’s                        requirements, that
23   manufacturing has proven out the feasibility of              and overall design, that the changes
24   did not significantly increase the complexity of the software needed to process the resulting data,
25   and that the design has become a critical element for the third generation of Waymo’s GBr
26   medium-range LiDAR sensor.
27          15)     Waymo testimony and documentary evidence will show that the research and
28   development that was necessary before Waymo could arrive at this trade secret cost

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 1   approximately $1.1 billion. That is not to say that all of the benefits derived from that research

 2   and development are discernible from the acquisition of this trade secret alone or that all of the

 3   benefits derived from that research and development can be obtained from the misappropriation

 4   of this trade secret alone. Indeed, the value of that research and development in its full form (all

 5   of the data, all of the learning, all of the analysis, all of the experience) would be worth many

 6   times Waymo’s $1.1 billion investment, at least by any measure of Waymo, Uber, and many

 7   market analysts. Nevertheless, the evidence will show that Trade Secret No. 2 was informed by –

 8   and would not exist without – Waymo’s expenditure of $1.1 billion in research and development.

 9   Indeed, that is exactly what makes the trade secret – even in and of itself – so valuable.

10                   3.     Trade Secret Nos. 7 and 9

11          16)       Trade Secret Nos. 7 and 9 relate to
12                                           n Waymo’s LiDAR devices. Waymo engineers will testify
13   that Waymo arrived at these trade secrets only as a result of the research and development cycles
14   described in paragraphs 1 through 9 above. The engineers will explain that these trade secrets
15   were developed in response to
16

17

18          17)       For example, Waymo engineers will testify that
19

20

21                              Waymo engineers will testify that, as a result,
22

23

24

25          18)       Waymo’s engineers will explain that, after multiple design iterations, Waymo
26   proposed that
27

28                                                                                In order to implement

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 1    that solution, however, Waymo had to figure out (among other things) how to

 2                        In connection with working on that problem, Waymo engineers hypothesized
 3    that
 4

 5

 6             19)    Waymo engineers will testify that, once these solutions were proposed, the details
 7    of the FAC lens had to be specified, suppliers for the lens had to be procured, and techniques for
 8                                                      had to be developed. The hardware had to be
 9    manufactured and tested to see if it solved all or some of
10                                while still meeting other sensor and system requirements and without
11    introducing new problems. Ultimately, for example, there needed to be more analysis and testing
12    of the                        to ensure that drawbacks, such as                        , could be
13    overcome and to ensure that reliable techniques for
14                          could be developed.
15             20)   Waymo testimony and documentary evidence will show that the research and
16 development that was necessary before Waymo could arrive at these trade secrets cost

17 approximately $120 million. That is not to say that all of the benefits derived from that research

18 and development are discernible from the acquisition of these trade secrets alone or that all of the

19 benefits derived from that research and development can be obtained from the misappropriation of

20 these trade secrets. Indeed, the value of that research and development in its full form (all of the

21 data, all of the learning, all of the analysis, all of the experience) would be worth many times

22 Waymo’s investment, at least by any measure of Waymo, Uber, and many market analysts.

23 Nevertheless, the evidence will show that Trade Secret Nos. 7 and 9 were informed by – and they

24 would not exist without – Waymo’s expenditure of approximately $120 million in research and

25 development. Indeed, that is exactly what makes these trade secrets so valuable.

26                   4.      Trade Secret Nos. 13 and 14
27             21)    Trade Secret Nos. 13 and 14 are also directed to techniques for
28                                                                               Waymo engineers will

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 1    testify that Waymo arrived at these trade secrets only as a result of the research and development

 2    cycles described in paragraphs 1 through 9 above. Waymo engineers will testify that these

 3    development cycles revealed that
 4                 could play a critical role in achieving performance goals under various other
 5    constraints, but                        involved various challenges from a manufacturing and
 6    cost perspective.
 7           22)       During the design and build process for an early LiDAR design, GBr, Waymo
 8    observed that
 9

10                 . Waymo engineers will testify that they researched and evaluated different
11    techniques for addressing
12

13                            Waymo evaluated the different options against cost, supply, and
14    performance requirements and ultimately developed a technique – described in Trade Secret No.
15    13 – that would meet its criteria.
16           23)       Also during the design and build process for GBr, Waymo developed a technique
17    to help enable
18                                  Waymo engineers will testify that they researched and evaluated
19    different techniques for improving                                and eventually arrived at a
20    technique – described in Trade Secret No. 14 – that allowed for
21

22

23           24)       Waymo testimony and documentary evidence will show that the research and
24    development that was necessary before Waymo could arrive at these trade secrets cost
25    approximately $120 million. That is not to say that all of the benefits derived from that research
26    and development are discernible from the acquisition of these trade secrets alone or that all of the
27    benefits derived from that research and development can be obtained from the misappropriation
28    of these trade secrets. Indeed, the value of that research and development in its full form (all of

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 1    the data, all of the learning, all of the analysis, all of the experience) would be worth many times

 2    Waymo’s investment, at least by any measure of Waymo, Uber, and many market analysts.

 3    Nevertheless, the evidence will show that Trade Secret Nos. 13 and 14 were informed by – and

 4    they would not exist without – Waymo’s expenditure of approximately $120 million in research

 5    and development. Indeed, that is exactly what makes these trade secrets so valuable.

 6                   5.      Trade Secret No. 25

 7            25)     Trade Secret No. 25 relates to Waymo’s self-driving car test scenarios and sensor
 8    requirements. Waymo engineers including Dr. Dolgov will testify that these test scenarios and
 9    requirements resulted from six years of development work. The engineers will explain that
10

11

12

13            26)     Waymo engineers will explain that Waymo drives millions of real-world test miles
14    in order to accumulate data about the types of objects, environments, and conditions that vehicles
15    encounter. The engineers will testify that, after collecting this data, it is analyzed it to identify
16    and define test scenarios that Waymo’s self-driving platform must be able to address. For
17    example, Waymo engineer Ben Ingram testified that Waymo’s sensing parameters are “things
18    that, through the years of driving and the millions of miles in driving that we’ve done, we have
19    come to understand are likely to drive a LiDAR design.” (Ex. 5 [Ingram 8/16/17 Depo.Tr.] at
20    63:10-63:13.) Waymo’s technical expert Dr. Hesselink similarly testified that “there is
21    significant value for somebody who has just gone through this process over at Waymo where one
22    and a half million miles or so have apparently been driven.” (Ex. 6 [Hesselink 9/26/17 Depo. Tr.]
23    at 118:7-10.) Specifically, the miles that Waymo has driven are “actionable” because they allow
24    “a designer of the LiDAR and of the software to come up with specific solutions to solve.” (Id. at
25    118:11-15.)
26            27)     Waymo engineers will further explain that extensive data collection and analysis
27    was the only way to develop these test scenarios because the problem Waymo was trying to solve
28    was previously undefined; no other companies or researchers had attempted to define the

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 1    scenarios that a LiDAR sensor for a fully autonomous self-driving vehicle should detect in the

 2    real world.

 3           28)     The evidence will establish that the scenarios described in Trade Secret No. 25 are

 4    carefully chosen to ensure that Waymo’s sensors are able to detect anticipated and unanticipated

 5    events in real-world driving conditions. Dr. Dolgov and other Waymo engineers will explain that

 6    Waymo refers to the most critical scenarios as “corner cases.” These corner cases represent the

 7    hardest problems that must be solved in order for the sensor to work in a real world setting. The

 8    goal is to get to a place where it is reasonable to conclude that, if a sensor meets each of the

 9    corner cases, then it should be able to handle any unanticipated scenarios that it encounters in the

10    real world.

11           29)     The witnesses will testify that identifying and selecting Waymo’s test scenarios is

12    an iterative process that requires extensive data analysis and testing. In some instances, Waymo

13    has defined the test scenarios too simplistically only to determine through testing that the problem

14    is more complex than Waymo had anticipated. In other instances, testing reveals that Waymo’s

15    test scenarios were too complex and would lead to an unnecessarily complicated sensor design.

16           30)     Waymo engineers will further testify that, based on the test scenarios, Waymo

17    develops hardware requirements for its different sensors (e.g., short-range, medium-range, long-

18    range LIDAR, radar, cameras, etc.) and that these requirements are protected by Trade Secret No.

19    25. The requirements include information such as
20                                                                                       After the
21    requirements are defined, Waymo prototypes sensors to meet the requirements and tests the
22    sensors in the real world and in simulated environments to determine whether they meet the
23    defined test scenarios.
24           31)     Waymo engineers will explain that developing a set of hardware requirements
25    involves coordination among multiple teams within Waymo. For a given test scenario, Waymo
26    engineers determine what data is required from each sensor (e.g., LiDAR, radar, cameras).
27    Waymo’s LiDAR team then combines the LiDAR requirements into specifications for its
28    different LiDAR sensors (e.g., short-range, medium-range, and long-range). The specifications

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 1    include requirements like                                      —all of which are selected to meet

 2    Waymo’s test scenarios. Waymo then designs and builds its LiDAR sensors to meet these

 3    specifications.

 4          32)     Waymo engineers will explain that the design and development process for

 5 Waymo’s LiDAR sensors involves balancing hardware and software capabilities. If the hardware

 6 team develops a less expensive or easier to manufacture sensor, then the software team may have

 7 to develop more complex algorithms in order to process the data that the sensor collects. Or the

 8 software team may determine that the data is too noisy or non-uniform to be useful. If, on the

 9 other hand, the hardware team develops a sophisticated sensor that produces rich data, then it

10 simplifies the software development. These tradeoffs influenced the sensor requirements

11 protected by Trade Secret No. 25.

12          33)     Waymo testimony and documentary evidence will show that the research and

13 development that was necessary before Waymo could arrive at this trade secret cost approximately

14 $1.1 billion. That is not to say that all of the benefits derived from that research and development

15 are discernible from the acquisition of this trade secret alone or that all of the benefits derived

16 from that research and development can be obtained from the misappropriation of this trade secret

17 alone. Indeed, the value of that research and development in its full form (all of the data, all of the

18 learning, all of the analysis, all of the experience) would be worth many times Waymo’s $1.1

19 billion investment, at least by any measure of Waymo, Uber, and many market analysts.

20 Nevertheless, the evidence will show that Trade Secret No. 25 was informed by, and would not

21 exist without, Waymo’s expenditure of $1.1 billion in research and development.

22                  6.        Trade Secret No. 90

23           34)        Trade Secret No. 90 relates to fiber laser technology developed by Waymo for
24    long-range LiDAR. Long-range detection allows its self-driving vehicles to identify and classify
25    objects such as                                                                   Waymo engineers
26    will testify that Waymo arrived at its fiber laser technology as a result of research and
27    development cycles as described in paragraphs 1 through 9 above.
28           35)        As just one example, Waymo engineers will testify that they considered different

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 1    sensors for long-range detection, including radar and cameras, but came to believe that these

 2    sensors would continue to have problems detecting certain scenarios like
 3    and that software would not be able to resolve those problems. Waymo ultimately proposed a
 4    fiber-based LiDAR sensor as a potential solution for long-range detection. Waymo initially
 5

 6    to meet Waymo’s performance requirements at an appropriate cost. These efforts ultimately
 7    failed and Waymo decided to develop its own custom fiber laser technology, Trade Secret No.
 8    90.
 9           36)     The evidence will be that Waymo’s custom fiber laser technology resulted from
10    several years of research, development, and testing work, including over seven different versions
11    of a long range fiber-based laser. All of this work was informed by experiences with short and
12    medium range LiDAR, combining and processing different LiDAR outputs using different
13    software algorithms, and learnings derived from different implementations of the self-driving
14    platform as a whole.
15           37)     Waymo testimony and documentary evidence will show that the research and
16    development that was necessary before Waymo could arrive at this trade secret cost
17    approximately $1.1 billion. That is not to say that all of the benefits derived from that research
18    and development are discernible from the acquisition of this trade secret alone or that all of the
19    benefits derived from that research and development can be obtained from the misappropriation
20    of this trade secret. Indeed, the value of that research and development in its full form (all of the
21    data, all of the learning, all of the analysis, all of the experience) would be worth many times
22    Waymo’s investment, at least by any measure of Waymo, Uber, and many market analysts.
23    Nevertheless, the evidence will show that Trade Secret 90 was informed by – and would not exist
24    without – Waymo’s expenditure of approximately $1.1 billion in research and development.
25    Indeed, that is exactly what makes this trade secret so valuable.
26                  7.       Trade Secret No. 111
27           38)     Trade Secret No. 111 relates to know-how regarding the risks and costs of a
28                                                      LiDAR system. Waymo engineers will testify

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 1    that one of their early LiDAR designs called Mama Bear (“MBr”) used a

 2                                                                                           The
 3    engineers will explain that Waymo considered the MBr design to be beneficial from a hardware
 4    perspective because
 5                                            The engineers will further testify that Waymo spent more
 6    than a year on the research and development of MBr, including designing, building, and testing
 7    prototypes. (See Ex. 7 [TX-1824].)
 8           39)     As outlined in paragraphs 1 through 9 above, Dr. Dolgov will explain that the
 9    design and development process for Waymo’s LiDAR sensors involves balancing hardware and
10    software capabilities. If the hardware team develops a less expensive or easier to manufacture
11    sensor, then the software team may have to develop more complex algorithms in order to process
12    the data that the sensor collects. Or the software team may determine that the data is too noisy or
13    non-uniform to be useful. Dr. Dolgov will testify that this was the case with MBr. After
14    expending significant resources designing and developing an MBr prototype, Waymo’s software
15    team determined that sensor
16

17

18           40)     After a substantial investigation over the course of a month, Waymo determined
19    that the problem resulted from                                         —a problem that Waymo
20    could not have anticipated at the outset of the design process. Waymo engineers will testify that
21    they attempted to develop a solution, including
22                                     Ultimately, Waymo determined that a solution was not feasible
23    for self-driving and abandoned the MBr design in favor of GBr,
24           41)     Waymo testimony and documentary evidence will show that the research and
25    development costs associated with Waymo’s work on its
26                           , as recited in Trade Secret No. 111, totaled approximately $50 million.
27 III.     THE COSTS OF DEVELOPING THE ASSERTED TRADE SECRETS ARE
            RELEVANT TO WHETHER THE INFORMATION HAS INDEPENDENT
28

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 1          ECONOMIC VALUE
 2          As plaintiff, Waymo bears the burden of proving that each of the asserted trade secrets is a
 3 protectable trade secret. Language Line Servs., Inc. v. Language Servs. Assocs., Inc., 944 F. Supp.
 4 2d 775, 779-80 (N.D. Cal. 2013). To qualify as a trade secret, information must derive actual or
 5 potential independent economic value from not being generally known. MAI Systems Corp. v.
 6 Peak Comp. Inc., 991 F.2d 511, 520-21 (9th Cir. 1993). Evidence of the substantial investment of
 7 time and money expended by Waymo to develop the asserted trade secrets is relevant to this
 8 economic value inquiry. Calif. Intern. Chem. Co., Inc. v. Sister H. Corp., 168 F.3d 498, 1999 WL
 9 50891 at *3 (9th Cir. 1999) (technology was a trade secret where the evidence strongly indicated
10 that it had value because developing it required “a substantial expenditure of time and money”);
11 see also Copart, Inc. v. Sparta Consulting, Inc., 2017 WL 4269921, at *15 (E.D. Cal. 2017)
12 (noting that “circumstantial evidence of [a plaintiff’s] investment of resources in producing the
13 information” is relevant to establishing its trade secret status and finding plaintiff’s investment of
14 two years and $10 million designing and building the system at issue relevant to that inquiry);
15 Shapiro v. Hasbro, Inc., 2016 WL 9176559, *12 (C.D. Cal. 2016) (independent economic value
16 can be established by circumstantial evidence, including of “the amount of resources invested by
17 the plaintiff in the production of the information”). Generally, “the more difficult information is
18 to obtain, and the more time and resources expended … in gathering it, the more likely a court will
19 find such information constitutes a trade secret.” Morlife, Inc. v. Perry, 56 Cal. App. 4th 1514,
20 1522 (1997); Farmers Ins. Exch. v. Steele Ins. Agency, Inc., 2013 WL 2151553, at *7 (E.D. Cal.
21 2013) (finding customer list information a protectable trade secret where plaintiff invested
22 “significant time, labor and capital” in compiling it). In this context, even “negative” information,
23 such as “the results of lengthy and expensive research which proves that a certain process will not
24 work,” has value. Spring Design, 2010 WL 5422556, at *5 (N.D.Cal. 2010) (quoting Courtesy
25 Temp. Serv. v. Camacho, 222 Cal.App.3d 1278, 1287 (Cal. Ct. App. 1990)).
26          Waymo has offered significant proof regarding the extent of the research and development
27 that was required for Waymo to arrive at its trade secrets. Waymo has also offered significant
28 proof as to why those research and development efforts were necessarily so extensive. Waymo

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 1 was the first to develop a self-driving platform for commercial use. It did so from the ground up.

 2 It did so without knowing what problems would arise, which technologies might be used to
 3 address those problems, or what iterations of those technologies could ultimately be combined into
 4 a low cost, reliable, and safe system. Waymo had to expend substantial time and resources to
 5 develop its trade secrets, and that very fact establishes their independent economic value.
 6           At trial, Uber intends to dispute that Waymo’s asserted trade secrets deserve trade secret
 7 protection. (Dkt. 2519-3 [Joint Pre-Trial Order, Uber’s Submission], at 4:4-5 (“[T]he alleged
 8 trade secrets are not protectable trade secrets under either DTSA or CUSTA.”).) Waymo should
 9 be permitted to present the jury with all of its evidence, including its development costs, to meet
10 its burden of proof on this issue.
11 IV.       WAYMO’S DEVELOPMENT COSTS ARE RELEVANT TO DAMAGES
12           Evidence of the full cost to Waymo of developing the asserted trade secrets is also directly
13 relevant to the amount of reasonable royalty damages to which Waymo is entitled. Royalty
14 damages are calculated by reference to a hypothetical value that the parties “would have agreed to
15 as a fair licensing price at the time that the misappropriation occurred.” Atlantic Inertial Systems
16 Inc. v. Condor Pacific Industries of California, Inc., 2015 WL 3825318, at *4 (C.D. Cal. 2015).
17 Development costs are often found relevant to that hypothetical value. See Lucini Italia Co. v.
18 Grappolini, 2003 WL 1989605, *11 (N.D. Ill. 2003) (“the Court finds that a reasonable royalty
19 would be at least the substantial sum [plaintiff] spent developing the information”); University
20 Computing Co. v. Lykes-Youngstown Corp., 504 F.2d 518, 539 (5th Cir. 1974) (“In calculating
21 what a fair licensing price would have been had the parties agreed, the trier of fact should consider
22 such factors as . . . the total value of the secret to the plaintiff, including the plaintiff’s
23 development costs.”). Here, both Waymo and Uber would have come to the hypothetical
24 negotiating table knowing full well that Waymo was years ahead of anyone else with respect to
25 developing self-driving technology and that any licensed technology would reflect years of
26 iterative work that was exclusively in Waymo’s possession and that necessarily informed its trade
27 secrets. Waymo would expect a reasonable licensing fee to acknowledge this value, and Uber
28 would expect to pay a premium for trade secrets that resulted from Waymo’s extensive

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 1 expenditure of time and money.

 2          What is more, there will be substantial evidence in the record regarding the state of Uber’s
 3 development program at the time of the misappropriation and the role of the asserted trade secrets
 4 in the context of the overall self-driving platform. Such evidence will offer the jury one or more
 5 paths (depending on their assessment of the evidence) for approximating1 an unjust enrichment
 6 award based on an apportionment of Waymo’s research and development costs. GlobeRanger
 7 Corp. v. Software AG USA, Inc., 836 F.3d 477, 499-500 (5th Cir. 2016) (no abuse of discretion
 8 where expert presented evidence of research and development costs to support $19.7 million
 9 damages opinion on an unjust enrichment theory); Bourns, Inc. v. Raychem Corp., 331 F.3d 704,
10 709-10 (9th Cir. 2003) (affirming “burn rate,” or “development cost,” of $3 million per year of
11 saved development costs as an unjust enrichment award); PQ Labs, Inc. v. Yang Qi, 2014 WL
12 4954161, *5, *11 (N.D. Cal. 2014) (calculating amount defendants were unjustly enriched by
13 referencing plaintiff’s research and development costs); Johns-Manville Corp. V. Guardian
14 Industries Corp., 718 F. Supp. 1310, 1315-16 (E.D. Mich. 1989) (“the Court finds the proper
15
16      1
            Courts recognize a distinction in the burden of proof required to show “the fact of damage”
17   and “the extent of the damage.” Story Parchment Co v. Paterson Parchment Paper Co., 282 U.S.
     555, 562-63 (1931) (“It is true that there was uncertainty as to the extent of the damage, but there
18   was none as to the fact of damage; and there is a clear distinction between the measure of proof
     necessary to establish the fact that petitioner had sustained some damage and the measure of proof
19   necessary to enable the jury to fix the amount . . . The wrongdoer is not entitled to complain that
     they cannot be measured with the exactness and precision that would be possible if the case, which
20
     he alone is responsible for making, were otherwise.”); Pace Indus., Inc. v. Three Phoenix Co., 813
21   F.3d 234, 240 (9th Cir. 1987) (“[U]ncertain damages, which prevent recovery, are distinguishable
     from uncertain extent of damage, which does not prevent recovery. The former denotes failure to
22   establish an injury, while the latter denotes imprecision with regard to the scope or extent of the
     injury. The question of whether there is a right to recovery is not to be confused with the difficulty
23   in ascertaining the scope or extent of the injury.”) (internal citations omitted). Accordingly, once
24   the fact of damages is established, juries are permitted to approximate damages based on existing
     evidence relevant to the value of the asserted trade secrets. See Telex Corp. v. Int’l Bus. Mach.
25   Corp., 367 F.Supp. 258, 309 (N.D. Okl. 1973) (court finding a “reasonable basis in the evidence to
     fairly approximate the damages”), aff’d by Telex Corp. v. Int’l. Bus. Mach. Corp., 510 F.2d 894,
26   931 (10th Cir. 1975), abrogated on other grounds by Novell, Inc. v. Microsoft Corp., 731 F.3d
     1064, 1072 (10th Cir. 2013) (affirming unjust enrichment damages award based on saved
27   research costs where, “while such may not have been established with mathematical precision,
28   they do meet the ‘degree of likelihood’ test. The fact that such damages may be difficult to pin
     down should not militate in favor of the wrongdoer.)
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 1 measure of unjust enrichment in this case is the entire sum that [the plaintiff] expended in

 2 developing the HERM technology that [the defendant] misappropriated.”). In Syntron
 3 Bioresearch, Inc. v. Fan, 2002 WL 660446, at *12 (Cal. App. 4th 2002), the court affirmed an
 4 unjust enrichment award based on “75 percent of Syntron's research and development costs
 5 incurred from 1990 through 1997.” Id. (internal quotations omitted). Even where defendant
 6 argued that this “apportionment does not reasonably reflect the unjust enrichment for those trade
 7 secrets actually misappropriated” because plaintiff’s witness acknowledged that it would be
 8 “difficult to segregate research and development costs on a product-by-product basis because
 9 Syntron simply did not do so in its accounting,” the Court of Appeal affirmed. Id. It noted that,
10 “[g]ranted, the court's $2.7 million unjust enrichment award may not have been established with
11 mathematical precision. Nevertheless, it is reasonable in light of the whole record, as the
12 difficulty in ascertaining damages ‘should not militate in favor of the wrongdoer.’”
13 V.       CONCLUSION
14          For the foregoing reasons, the Court should allow Waymo to elicit testimony and introduce
15 evidence regarding its development expenses as described herein.
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17
18 DATED: January 26, 2018                      QUINN EMANUEL URQUHART & SULLIVAN,
                                                LLP
19
                                                 By /s/ Charles K. Verhoeven
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                                                   Charles K. Verhoeven
21                                                 Attorneys for WAYMO LLC

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                                                WAYMO’S OFFER OF PROOF REGARDING DEVELOPMENT EXPENSES
